          Case 8:11-cr-00525-PJM Document 75 Filed 05/12/21 Page 1 of 3



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA                    *
                                            *



                                            *      Grim. No. 11-525 PJM
                                                   Civ. No.20-1950 PJM
BYRON MITCHELL,                             *

       Petitioner.                          *

                        MEMORANDUM OPINION AND ORDER

       On April 23,2012,Petitioner Byron Mitchell pleaded guilty to interference with commerce
by robbery in violation of 18 U.S.C. § 1951 (count!)and use ofa firearm in furtherance ofa crime
of violence in violation of 18 U.S.C. § 924(c)(count II). He is now serving a total term of 300
months ofimprisonment, comprising 216 months on count I and 84 consecutive months on count
II. Before the Court today is a successive motion to vacate his sentence under 28 U.S.C. § 2255.
       On May 28,2013, Mitchell filed his first pro se motion to vacate under section 2255,ECF
No.35, alleging ineffective assistance ofcounsel, which the Court denied on the merits,see Mem.
Op.(Oct. 23, 2013), ECF No. 41 (Williams, J.). On November 15, 2013, Mitchell filed a motion
for reconsideration. ECF No. 43. The case was subsequently transferred to this Court from Judge
Williams,and this Court shortly denied Mitchell's motion for reconsideration. See Order(May 22,
2014),ECF No.45 (Messitte, J.). Mitchell appealed that denial, and the Fourth Circuit ultimately
denied certification and dismissed his appeal. Judgment ofUSCA (Apr. 24,2015),ECF No. 55.
        On March 9, 2016, Mitchell became one of 459 defendants appointed coimsel for the
purpose of determining whether he was eligible for relief under 28 U.S.C. § 2255 in light of the
Supreme Court's ruling m Johnson v. United States, 516 U.S. 591 (2015). Mot. and Order, ECF
 No. 57. He was granted authorization to file a successive section 2255 motion to vacate, which,
 through counsel, he filed on May 26,2016,ECF No.59,and supplemented on April 1,2019,ECF
Case 8:11-cr-00525-PJM Document 75 Filed 05/12/21 Page 2 of 3
Case 8:11-cr-00525-PJM Document 75 Filed 05/12/21 Page 3 of 3
